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 8                         IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ROBERT K. DENNIS,                           No. 2:21-CV-1906-DJC-DMC-P
12                     Petitioner,
13          v.                                    ORDER
14    D. SAMUL,
15                     Respondent.
16

17         Petitioner, a state prisoner proceeding pro se, brings this petition for a writ of

18   habeas corpus under 28 U.S.C. § 2254. The matter was referred to a United States

19   Magistrate Judge pursuant to Eastern District of California local rules.

20         On April 10, 2024, the Magistrate Judge filed findings and recommendations

21   herein which were served on the parties, and which contained notice that the parties

22   may file objections within the time specified therein. No objections to the findings

23   and recommendations have been filed.

24         The Court has reviewed the file and finds the findings and recommendations to

25   be supported by the record and by the Magistrate Judge's analysis.

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 1         Accordingly, IT IS HEREBY ORDERED as follows:

 2         1.     The findings and recommendations filed April 10, 2024, ECF No. 27, are

 3   adopted in full.

 4         2.     Petitioner’s petition for a writ of habeas corpus, ECF No. 1, is DENIED.

 5         3.     The Court declines to issue the certificate of appealability referenced in

 6   28 U.S.C. § 2253 as Petitioner has not made a substantial showing of the denial of a

 7   constitutional right, see 28 U.S.C. § 2253(c)(2).

 8         4.     The Clerk of the Court is directed to enter judgment and close this file.

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           IT IS SO ORDERED.
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12   Dated:     June 7, 2024
                                                   Hon. Daniel J. Calabretta
13                                                 UNITED STATES DISTRICT JUDGE
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